                         Case: 1:21-cv-06622 Document #: 1-1 Filed: 12/10/21 Page 1 of 4 PageID #:4
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                                                                                                             10/28/2021 11:33 AM
                                                                                                             IRIS Y. MARTINEZ
           * •                                                                                               CIRCUIT CLERK
                                                                                                             COOK COUNTY, IL
                                                                  \.i                                        2021L010555
                        IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
..,                            COUNTY DEPARTMENT, LAW DIVISION
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7;
_..,       s. TONY CABAN,                        )
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                                                                          )
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           •—'                              Plaintiff,                    )

                          vs.                                             )       Case No.2021L010555
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                                                                         .)
                 UNION PACIFIC RAILROAD COMPANY-,                         )
                 a Foreign Corporation,

O
                                            Defendant.

                                                         COMPLAINT AT LAW

                          NOW COMES the Plaintiff, TONY CABAN,. by and through his attorneys, MORICI,

                 LONGO & ASSOCIATES, and complaining of the Defendant, UNION PACIFIC RAILROAD

                 COMPANY, a Foreign Corporation, alleges as follows:


                    1.          On or about March 30, 2021, the Defendant owned, controlled and/or was in charge

                                of erection, construction, repairs, altercation, removal and/or painting at or near

                            •Illinois Route 47 at or near the intersection with Main Street, in the City of Huntley,

                                County of McHenry, State of Illinois.

                    2.          That on or about March 30, 2021, Plaintiff, TONY CABAN, owned, operated and

                                maintained a motorcycle which was traveling in a southbound direction on Illinois

                                Route 47 at or near Main Street, in the City of Huntley, County of McHenry, State of

                                Illinois.

                    3.          That at the aforesaid time and place and prior thereto, the Defendant, individually and

                                through its agents, servants and employees, was present during the course of such

                                erection, construction, repairs, altercation, removal and/or painting. The Defendant

                                participated in coordinating the work being done and designated various work




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                               methods, maintained and checked work progress and participated in the scheduling of

                               the work and the inspection of the work. In addition thereto, at that time and place,

                               the Defendant had the authority to stop the work, refuse the work and materials and

                               order changes in the work, in the event the work was being performed in a dangerous

                               manner or for any other reason.

                     4.        That at all times material to this Complaint, the Defendant had a duty to exercise

                               reasonable care in the erection, construction, placement, or operation of said

                               construction site including the provision of safe, suitable and proper means for users

                               of the roadway to traverse the railroad tracks.

                     5.        That at said time and place, the motorcycle operated by Plaintiff, TONY CABAN,

                               encountered a defect in the roadway at Main Street railroad tracks which were created

                              by the Defendant, which cause the plaintiff's motorcycle to crash.

                     6.       That at all times aforesaid, it was the duty of the Defendant to exercise ordinary care

                              for the safety of the Plaintiff and to be free from negligence.

                     7.       That the Defendant was then and there guilty of one or more of the following careless
                              and negligent acts and/or omissions:
                              (a) Failed to make a reasonable inspection of the premises and the work being done
                                  thereon, when the Defendant knew, or in the exercise of ordinary care should
                                  have known, that said inspection was necessary to prevent injury to the Plaintiff;

                              (b) Improperly operated, managed, maintained and controlled the aforesaid premises,
                                  so that as a direct and proximate result thereof, the Plaintiff was injured;

                              (c) Failed to provide the Plaintiff with a safe place to operate his motor vehicle;

                              (d) Negligently failed to warn, barricade, or otherwise block off said road defect; and

                              (e) Negligently created a defective condition in the road.




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                                              •,
         8.       That the aforesaid careless and negligent acts and/or omissions of the Defendant were

                  a proximate cause of said collision and Plaintiffs personal injuries as hereinafter

                  mentioned.

cp       9.       That as a *direct and proximate result of one or more of the aforesaid careless and

                  negligent acts and/or omissions of the Defendant, the Plaintiff, TONY CABAN, then

                  and there sustained severe and permanent injuries, and was, and will be hindered and

                  prevented from attending to her usual duties and affairs of life, and has lost,-and will

                  lose, the value of that time as aforementioned. Further, the Plaintiff suffered great

                  pain and anguish, both in mind and body, and will in the future, continue to suffer.

                  The Plaintiff further expended and became liable for, and will expend and become

                  liable for, large sums of money for medical care and services endeavoring to become

                  healed and cured of said injuries.

         WHEREFORE, the Plaintiff, TONY CABAN, demands judgment against the Defendant,

     UNION PACIFIC RAILROAD COMPANY, a Foreign Corporation, in a dollar amount to

     satisfy the jurisdictional limitation of this Court and said additional amounts as the jury and the

     Court shall deem proper, and additionally, cost of said suit.

                                                                              spectfully submitted,


                                                                     By:
                                                                                rn ys for Plaintiff
     Tomas Cabrera
     MORICI, LONGO & ASSOCIATES
     730 West Randolph Street
     Sixth Floor
     Chicago, Illinois 60661
     312.372.9600
     Atty No.: 36252




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                                        COUNTY DEPARTMENT, LAW DIVISION
             N
                 TONY CABAN,                                             )
                                                                         )
                                        Plaintiff,                       )
                                                                         )-
                        VS.                                              )         Case No. 202 1L010555
                                                                         )
             * UNION PACIFIC RAILROAD COMPANY,                           )
               a Foreign Corporation,                                    )
                                                                         )
                                        Defendant.                       )
                                                           AFFIDAVIT

                        I, Tomas Cabrera, being first duly sworn on oath, deposes and states that if I were called
                 upon to testify, I would state as follows:

                        1.       That I am an attorney at law licensed to practice in the State of Illinois.
                        2.       That I am an attorney with the law firm of Morici, Longo & Associates, attorney of
                                 record for the Plaintiff, Tony Caban.
                        3.       That based upon the information available to me at the present time, the total
                                 amount of money damages sought in this matter exceeds $50,000.00.
                        4.       That this Affidavit is submitted in compliance with Supreme Court Rule 222()

                        Further, Affiant sayeth naught.


                                                               T mas Cabrera


                 SUBSCRIBED AND SWORN TO
                 before me this "?41—day
                 of    do b         , 2021
                                                                OFFICIAL SEAL
                                                                MONICA FAVELA
                                                          NOTARY PUBLIC- STATE OF ILLINOIS
                 Notary Public                             MY COMMISSION EXPIRES:004124




                                                              EXHIBIT 1
